
644 S.E.2d 556 (2007)
STATE of North Carolina
v.
Henry Scott LOCKHART.
No. 33P07.
Supreme Court of North Carolina.
March 8, 2007.
David Childers, Mount Holly, for Lockhart.
Elizabeth F. Parsons, Assistant Attorney General, John Snyder, District Attorney, for State of NC.


*557 ORDER

Upon consideration of the petition filed on the 22nd day of January 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
